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                      UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                 Eastern Division

Guillermo Robles
                                   Plaintiff,
v.                                                      Case No.: 1:17−cv−01302
                                                        Honorable Amy J. St. Eve
Kraft Foods Group, Inc.
                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, June 26, 2017:


         MINUTE entry before the Honorable Amy J. St. Eve: Pursuant to the parties'
stipulation of dismissal, this case is hereby dismissed with prejudice. Each party shall bear
his or its own costs and fees, including attorneys fees, incurred in connection with this
action. All pending dates and deadlines are stricken and all pending motions are denied as
moot. Civil case terminated. Judge Jeffrey T. Gilbert no longer referred to the case.Mailed
notice(kef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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